Case 8:24-cv-00974-FWS-ADS        Document 47-1       Filed 08/30/24   Page 1 of 26 Page
                                      ID #:1004



 1   Cyndie M. Chang (SBN 227542)
     cmchang@duanemorris.com
 2   DUANE MORRIS LLP
     865 South Figueroa Street
 3   Suite 3100
     Los Angeles, CA 90017-5450
 4   Telephone: 213.689.7400
     Facsimile: 213.689.7401
 5
     Attorney for Defendant:
 6   Grand Chip Labs, Inc.
 7

 8
                         UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                            SOUTHERN DIVISION
11
     SKYWORKS SOLUTIONS, INC.,               CASE NUMBER: 8:24-cv-00974-
12                                           FWS-ADS
                     Plaintiff,
13                                           Declaration of Cyndie M. Chang in
           v.                                Support of Grand Chip Labs, Inc.’s
14                                           Unopposed Motion to Stay Under 28
                                             U.S.C. § 1659(a)
15   KANGXI COMMUNICATION
     TECHNOLOGIES (SHANGHAI)
16   CO., LTD., GRAND CHIP LABS,
     INC., D-LINK CORPORATION, D-
17   LINK SYSTEMS, INC. AND
     RUIJIE NETWORKS CO., LTD.
18
                     Defendants.
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Case 8:24-cv-00974-FWS-ADS        Document 47-1        Filed 08/30/24   Page 2 of 26 Page
                                      ID #:1005



 1         I, Cyndie M. Chang, declare as follows:
 2         1.     I am a partner at the law firm of Duane Morris LLP and am counsel for
 3   Defendant Grand Chip Labs, Inc. (“Grand Chip Labs”). I have personal knowledge
 4   of the matters set forth in this Declaration, and if called as a witness, could and would
 5   testify competently to such facts under oath. I submit this Declaration in support of
 6   Grand Chip Labs’s Unopposed Motion to Stay Under 28 U.S.C. § 1659(a). In making
 7   this Declaration, it is not my intention, nor the intention of Grand Chip Labs, to waive
 8   the attorney-client privilege, the attorney work-product immunity, or any other
 9   applicable privilege.
10         2.     Attached hereto as Exhibit A is a true and correct copy of the
11   International Trade Commission’s Notice of Investigation in Inv. No. 337-TA-1413.
12

13         Executed on August 30, 2024, in Los Angeles, California.
14                                                 /s/ Cyndie M. Chang
15                                                       Cyndie M. Chang
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Case 8:24-cv-00974-FWS-ADS   Document 47-1   Filed 08/30/24   Page 3 of 26 Page
                                 ID #:1006




                        Exhibit A
Case 8:24-cv-00974-FWS-ADS             Document 47-1        Filed 08/30/24      Page 4 of 26 Page
                                           ID #:1007



               UNITED STATES INTERNATIONAL TRADE COMMISSION
                                Washington, D.C.

   In the Matter of

   CERTAIN WIRELESS FRONT-END                                Inv. No. 337-TA-1413
   MODULES AND DEVICES
   CONTAINING THE SAME


                      NOTICE OF INSTITUTION OF INVESTIGATION

 Institution of investigation pursuant to 19 U.S.C. 1337

 AGENCY: U.S. International Trade Commission

 ACTION: Notice

 SUMMARY: Notice is hereby given that a complaint was filed with the U.S. International
 Trade Commission on July 17, 2024, under section 337 of the Tariff Act of 1930, as amended,
 on behalf of Skyworks Solutions, Inc. of Irvine, California; Skyworks Solutions Canada, Inc. of
 Canada; and Skyworks Global Pte. Ltd. of Singapore. A letter supplementing the complaint was
 filed on August 5, 2024. The complaint, as supplemented, alleges violations of section 337
 based upon the importation into the United States, the sale for importation, and the sale within
 the United States after importation of certain wireless front-end modules and devices containing
 the same by reason of the infringement of certain claims of U.S. Patent No. 8,717,101 (“the ’101
 patent”); U.S. Patent No. 9,917,563 (“the ’563 patent”); U.S. Patent No. 7,409,200 (“the ’200
 patent”); U.S. Patent No. 9,450,579 (“the ’579 patent”); and U.S. Patent No. 9,148,194 (“the
 ’194 patent”). The complaint, as supplemented, further alleges that an industry in the United
 States exists or is in the process of being established as required by the applicable Federal
 Statute.

         The complainants request that the Commission institute an investigation and, after the
 investigation, issue a general exclusion order, or in the alternative a limited exclusion order, and
 cease and desist orders.

 ADDRESSES: The complaint, as supplemented, except for any confidential information
 contained therein, may be viewed on the Commission’s electronic docket (EDIS) at
 https://edis.usitc.gov. For help accessing EDIS, please email EDIS3Help@usitc.gov. Hearing
 impaired individuals are advised that information on this matter can be obtained by contacting
 the Commission’s TDD terminal on (202) 205-1810. Persons with mobility impairments who
 will need special assistance in gaining access to the Commission should contact the Office of the
 Secretary at (202) 205-2000. General information concerning the Commission may also be
 obtained by accessing its internet server at https://www.usitc.gov.
Case 8:24-cv-00974-FWS-ADS            Document 47-1        Filed 08/30/24      Page 5 of 26 Page
                                          ID #:1008



 FOR FURTHER INFORMATION CONTACT: Pathenia M. Proctor, The Office of Unfair
 Import Investigations, U.S. International Trade Commission, telephone (202) 205-2560.

 SUPPLEMENTARY INFORMATION:

 AUTHORITY: The authority for institution of this investigation is contained in section 337 of
 the Tariff Act of 1930, as amended, 19 U.S.C. 1337, and in section 210.10 of the Commission’s
 Rules of Practice and Procedure, 19 C.F.R. 210.10 (2024).

 SCOPE OF INVESTIGATION: Having considered the complaint, the U.S. International Trade
 Commission, on August 16, 2024, ORDERED THAT –

         (1) Pursuant to subsection (b) of section 337 of the Tariff Act of 1930, as amended, an
 investigation be instituted to determine whether there is a violation of subsection (a)(1)(B) of
 section 337 in the importation into the United States, the sale for importation, or the sale within
 the United States after importation of certain products identified in paragraph (2) by reason of
 infringement of one or more of claims 1, 2, 10, 11, 17, 18, and 20-22 of the ’101 patent; claims
 14, 15, 17, and 20 of the ’563 patent; claims 1, 2, 6, 10-12, 15, 18-20, and 23-25 of the ’200
 patent; claims 1 and 7 of the ’579 patent; and claim 4 of the ’194 patent, and whether an industry
 in the United States exists or is in the process of being established as required by subsection
 (a)(2) of section 337;

        (2) Pursuant to section 210.10(b)(1) of the Commission’s Rules of Practice and
 Procedure, 19 C.F.R. 210.10(b)(1), the plain language description of the accused products or
 category of accused products, which defines the scope of the investigation, is “wireless front-end
 modules and wireless routers”;

         (3) For the purpose of the investigation so instituted, the following are hereby named as
 parties upon which this notice of investigation shall be served:

                (a) The complainants are:

                       Skyworks Solutions, Inc.
                       5260 California Avenue
                       Irvine, CA 92617

                       Skyworks Solutions Canada, Inc.
                       1135 Innovation Drive
                       Ottawa, Ontario K2K 3G7
                       Canada

                       Skyworks Global Pte. Ltd.
                       3 Bedok South Rd.
                       Singapore 469269




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Case 8:24-cv-00974-FWS-ADS            Document 47-1          Filed 08/30/24    Page 6 of 26 Page
                                          ID #:1009



                (b) The respondents are the following entities alleged to be in violation of section
 337, and are the parties upon which the complaint is to be served:

                        Kangxi Communication Technologies (Shanghai) Co., Ltd.
                        5th Floor, Building 10,
                        No. 399 Keyuan Road
                        Pudong New Area, Shanghai, China

                        Grand Chip Labs, Inc.
                        14151 Newport Ave., Suite 204
                        Tustin, CA 92780

                        D-Link Corporation
                        4F 289 Sinhu 3rd Road,
                        Neihu District, Taipei, 114 Taiwan

                        D-Link Systems Inc.
                        14420 Myford Road, Suite 100
                        Irvine, CA 92606

                        Ruijie Networks Co., Ltd.
                        Building 19, Juyuanzhou Industrial Park,
                        No. 618
                        Jinshan Road, Cangshan District, Fuzhou,
                        Fujian, China

              (c) The Office of Unfair Import Investigations, U.S. International Trade
 Commission, 500 E Street, S.W., Suite 401, Washington, D.C. 20436; and

         (4) For the investigation so instituted, the Chief Administrative Law Judge, U.S.
 International Trade Commission, shall designate the presiding Administrative Law Judge.

         Responses to the complaint, as supplemented, and the notice of investigation must be
 submitted by the named respondents in accordance with section 210.13 of the Commission’s
 Rules of Practice and Procedure, 19 C.F.R. 210.13. Pursuant to 19 C.F.R. 201.16(e) and
 210.13(a), as amended in 85 Fed. Reg. 15798 (March 19, 2020), such responses will be
 considered by the Commission if received not later than 20 days after the date of service by the
 complainants of the complaint and the notice of investigation. Extensions of time for submitting
 responses to the complaint and the notice of investigation will not be granted unless good cause
 therefor is shown.

         Failure of a respondent to file a timely response to each allegation in the complaint and in
 this notice may be deemed to constitute a waiver of the right to appear and contest the allegations
 of the complaint and this notice, and to authorize the administrative law judge and the
 Commission, without further notice to the respondent, to find the facts to be as alleged in the
 complaint and this notice and to enter an initial determination and a final determination


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Case 8:24-cv-00974-FWS-ADS            Document 47-1       Filed 08/30/24      Page 7 of 26 Page
                                          ID #:1010



 containing such findings, and may result in the issuance of an exclusion order or a cease and
 desist order or both directed against the respondent.

        By order of the Commission.




                                                     Lisa Barton
                                                     Secretary to the Commission
 Issued: August 16, 2024




                                                 4
Case 8:24-cv-00974-FWS-ADS   Document 47-1   Filed 08/30/24   Page 8 of 26 Page
                                 ID #:1011
Case 8:24-cv-00974-FWS-ADS
                         Document 47-1               Filed 08/30/24     Page 9 of 26 Page
                             ID #:1012
 CERTAIN WIRELESS FRONT-END                                           Inv. No. 337-TA-1413
 MODULES, DEVICES CONTAINING THE
 SAME, AND COMPONENTS THEREOF



                            PUBLIC CERTIFICATE OF SERVICE

              I, Lisa R. Barton, hereby certify that the attached INSTITUTION OF
       INVESTIGATION has been served via EDIS upon Linda Change, Esq and the
       following parties as indicated, on August 16, 2024.




                                               Lisa R. Barton, Secretary
                                               U.S. International Trade Commission
                                               500 E Street, SW, Room 112
                                               Washington, DC 20436

 Complainants:

 Skyworks Solutions, Inc.                                     ☐ Via Hand Delivery
 5260 California Avenue                                       ☐ Via Express Delivery
 Irvine, CA 92617                                             ☐ Via First Class Mail
                                                              ☒ Other: Email Notification
                                                              of Availability for Download

Skyworks Solutions Canada, Inc.                              ☐ Via Hand Delivery
1135 Innovation Drive                                        ☐ Via Express Delivery
Ottawa, Ontario K2K 3G7
                                                             ☐ Via First Class Mail
Canada
                                                             ☒ Other: Email Notification
                                                             of Availability for Download

Skyworks Global Pte. Ltd.                                    ☐ Via Hand Delivery
3 Bedok South Rd.                                            ☐ Via Express Delivery
Singapore 469269                                             ☐ Via First Class Mail
                                                             ☒ Other: Email Notification
                                                             of Availability for Download


On Behalf of Complainant Skyworks Solutions,                 ☐ Via Hand Delivery
Inc., Skyworks Solutions, Inc, and Skyworks Global           ☐ Via Express Delivery
Pte. Ltd.:
                                                             ☐ Via First Class Mail
                                                             ☒ Other: Email Notification
James M. Dowd, Esq.                                          of Availability for Download
WILMER CUTLER PICKERING HALE AND
DORR LLP 350 S. Grand Ave, Suite 2400
Los Angeles, CA 90071
Email: james.dowd@wilmerhale.com
 CERTAIN
Case       WIRELESS FRONT-END
     8:24-cv-00974-FWS-ADS    MODULES,
                           Document  47-1 Filed 08/30/24         Inv.
                                                                  PageNo.
                                                                       10337-TA-1413
                                                                          of 26 Page
 DEVICES CONTAINING THE SAME, AND
                                ID #:1013
 COMPONENTS THEREOF


  Certificate of Service – Page 2


 Respondents:

 Kangxi Communication Technologies (Shanghai) Co., Ltd.   ☐ Via Hand Delivery
 5th Floor, Building 10, No.399 Keyuan Road               ☐ Via Express Delivery
 Pudong New Area, Shanghai,
                                                          ☐ Via First Class Mail
 China
                                                          ☒ Other: Service to Be
                                                          Completed by Complainant

 Grand Chip Labs, Inc.                                    ☐ Via Hand Delivery
 14151 Newport Ave., Suite 204                            ☐ Via Express Delivery
 Tustin, CA 92780                                         ☐ Via First Class Mail
                                                          ☒ Other: Service to Be
                                                          Completed by Complainant


 D-Link Corporation                                       ☐ Via Hand Delivery
 4F 289 Sinhu 3rd Road
 Neihu District, Taipei, 114
                                                          ☐ Via Express Delivery
 Taiwan                                                   ☐ Via First Class Mail
                                                          ☒ Other: Service to Be
                                                          Completed by Complainant


                                                          ☐ Via Hand Delivery
 D-Link Systems Inc.                                      ☐ Via Express Delivery
                                                          ☐ Via First Class Mail
 14420 Myford Road, Suite 100
 Irvine, CA 92606
                                                          ☒ Other: Service to Be
                                                          Completed by Complainant




                                                          ☐ Via Hand Delivery
 Ruijie Networks Co., Ltd.                                ☐ Via Express Delivery
 Building 19, Juyuanzhou Industrial Park, No.             ☐ Via First Class Mail
 618 Jinshan Road, Cangshan District,                     ☒ Other: Service to Be
 Fuzhou, Fujian China                                     Completed by Complainant
Case 8:24-cv-00974-FWS-ADS
                         Document 47-1                      Filed 08/30/24    Page 11 of 26 Page
                              ID #:1014
CERTAIN WIRELESS FRONT-END MODULES,                                          Inv. No. 337-TA-1413
DEVICES CONTAINING THE SAME, AND
COMPONENTS THEREOF

 Certificate of Service – Page 3


 Taipei Economic & Cultural Representative Office:

 Taipei Economic & Cultural Representative Office                    ☐ Via Hand Delivery
 4201 Wisconsin Avenue, NW                                           ☐ Via Express Delivery
 Washington, DC 20016                                                ☐ Via First Class Mail
                                                                     ☒ Other: Service to Be
                                                                     Completed by Complainant
 Embassy:

 Embassy of China                                                    ☐ Via Hand Delivery
 3505 International Place, NW                                        ☐ Via Express Delivery
 Washington, DC 20008                                                ☐ Via First Class Mail
                                                                     ☒ Other: Service to Be
 Government Agencies:
                                                                     Completed by Complainant
 Lynda Marshall
 International Section, Antitrust                                    ☐ Via Hand Delivery
 Division U.S. Department of                                         ☐ Via Express Delivery
 Justice 450 5th Street NW, Room 11000                               ☐ Via First Class Mail
 Washington, DC 20530                                                ☒ Other: Email Notification
                                                                     of Availability for Download
 Dax Terrill, Chief
 Exclusion Order Enforcement Branch                                  ☐ Via Hand Delivery
 U.S. Customs and Border Protection                                  ☐ Via Express Delivery
 Regulations and Rulings                                             ☐ Via First Class Mail
 90 K Street NE – 10th Floor                                         ☒ Other: Email Notification
 Washington, DC 20229                                                of Availability for Download

 Andrew Heimert
 International Antitrust, Office of International Affairs            ☐ Via Hand Delivery
 Federal Trade Commission
                                                                     ☐ Via Express Delivery
 600 Pennsylvania Avenue, Room 498
 Washington, DC 20580                                                ☐ Via First Class Mail
                                                                     ☒ Other: Email Notification
                                                                     of Availability for Download
 Summer E. Young, PH.D., J.D.
 HHS Office of the General Counsel, NIH Branch National
 Institutes of Health                                                ☐ Via Hand Delivery
 31 Center Drive
                                                                     ☐ Via Express Delivery
 Bldg. 31, Room 2B-50
                                                                     ☐ Via First Class Mail
 Bethesda, MD 20892
                                                                     ☒ Other: Email Notification
                                                                     of Availability for Download
Case 8:24-cv-00974-FWS-ADS           Document 47-1          Filed 08/30/24     Page 12 of 26 Page
                                          ID #:1015




            UNITED STATES INTERNATIONAL TRADE COMMISSION
                                    WASHINGTON, DC 20436


                                         August 16, 2024


    Skyworks Solutions, Inc.
    5260 California Avenue
    Irvine, CA 92617

    Re:     Certain Wireless Front-End Modules, Devices
            Containing the Same, and Components Thereof; Inv. No.
            337-TA-1413

    Dear Sir/Madam:

    This letter is to advise you that the U.S. International Trade Commission has instituted an
    investigation pursuant to section 337 of the Tariff Act of 1930 (19 U.S.C. 1337). A copy
    of the Commission's notice of investigation is enclosed. Also enclosed is the Section
    337 Mediation Program brochure. After reviewing the brochure, please sign and return
    the enclosed certification of receipt.


                                               Sincerely,



                                               Lisa R. Barton
                                               Secretary

    Enclosures:
       1. Notice of Investigation
       2. Publication Regarding the Section 337 Mediation Program
       3. Certification of Receipt of Mediation Materials
Case 8:24-cv-00974-FWS-ADS            Document 47-1         Filed 08/30/24     Page 13 of 26 Page
                                           ID #:1016




           UNITED STATES INTERNATIONAL TRADE COMMISSION
                                    WASHINGTON, DC 20436


                                              August 16, 2024

    Skyworks Solutions Canada, Inc.
    1135 Innovation Drive
    Ottawa, Ontario K2K 3G7
    Canada

     Re:    Certain Wireless Front-End Modules, Devices
            Containing the Same, and Components Thereof; Inv. No.
            337-TA-1413

    Dear Sir/Madam:

    This letter is to advise you that the U.S. International Trade Commission has instituted an
    investigation pursuant to section 337 of the Tariff Act of 1930 (19 U.S.C. 1337). A copy
    of the Commission's notice of investigation is enclosed. Also enclosed is the Section
    337 Mediation Program brochure. After reviewing the brochure, please sign and return
    the enclosed certification of receipt.


                                               Sincerely,



                                               Lisa R. Barton
                                               Secretary

    Enclosures:
       1. Notice of Investigation
       2. Publication Regarding the Section 337 Mediation Program
       3. Certification of Receipt of Mediation Materials
Case 8:24-cv-00974-FWS-ADS           Document 47-1          Filed 08/30/24     Page 14 of 26 Page
                                          ID #:1017




           UNITED STATES INTERNATIONAL TRADE COMMISSION
                                    WASHINGTON, DC 20436


                                          August 16, 2024

    Skyworks Global Pte. Ltd.
    3 Bedok South Rd.
    Singapore 469269


     Re:    Certain Wireless Front-End Modules, Devices
            Containing the Same, and Components Thereof; Inv. No.
            337-TA-1413

    Dear Sir/Madam:

    This letter is to advise you that the U.S. International Trade Commission has instituted an
    investigation pursuant to section 337 of the Tariff Act of 1930 (19 U.S.C. 1337). A copy
    of the Commission's notice of investigation is enclosed. Also enclosed is the Section
    337 Mediation Program brochure. After reviewing the brochure, please sign and return
    the enclosed certification of receipt.


                                               Sincerely,



                                               Lisa R. Barton
                                               Secretary

    Enclosures:
       1. Notice of Investigation
       2. Publication Regarding the Section 337 Mediation Program
       3. Certification of Receipt of Mediation Materials
Case 8:24-cv-00974-FWS-ADS           Document 47-1          Filed 08/30/24     Page 15 of 26 Page
                                          ID #:1018




           UNITED STATES INTERNATIONAL TRADE COMMISSION
                                    WASHINGTON, DC 20436


                                          August 16, 2024

    James M. Dowd, Esq.
    WILMER CUTLER PICKERING HALE AND DORR LLP
    350 S. Grand Ave, Suite 2400
    Los Angeles, CA 90071

    Re:    Certain Wireless Front-End Modules, Devices
           Containing the Same, and Components Thereof; Inv. No.
           337-TA-1413

    Dear Sir/Madam:

    This letter is to advise you that the U.S. International Trade Commission has instituted an
    investigation pursuant to section 337 of the Tariff Act of 1930 (19 U.S.C. 1337). A copy
    of the Commission's notice of investigation is enclosed. Also enclosed is the Section
    337 Mediation Program brochure. After reviewing the brochure, please sign and return
    the enclosed certification of receipt.


                                               Sincerely,



                                               Lisa R. Barton
                                               Secretary

    Enclosures:
       1. Notice of Investigation
       2. Publication Regarding the Section 337 Mediation Program
       3. Certification of Receipt of Mediation Materials
Case 8:24-cv-00974-FWS-ADS            Document 47-1         Filed 08/30/24       Page 16 of 26 Page
                                           ID #:1019




               UNITED STATES INTERNATIONAL TRADE COMMISSION

                                     WASHINGTON, DC 20436

                                           August 16, 2024
 Kangxi Communication Technologies (Shanghai) Co., Ltd.
 5th Floor, Building 10, No.399 Keyuan Road
 Pudong New Area, Shanghai
 China

 Re:    Certain Wireless Front-End Modules, Devices
        Containing the Same, and Components Thereof; Inv. No.
        337-TA-1413
 Dear Sir/Madam:
 This letter is to advise you that the United States International Trade Commission has instituted
 an investigation pursuant to Section 337 of the Tariff Act of 1930 (19 U.S.C. 1337). Kangxi
 Communication Technologies (Shanghai) Co., Ltd. is a named respondent in this
 investigation.
 We are hereby serving you with a copy of the Complaint and the Notice of Investigation issued
 in this matter. Enclosed is a copy of the Code of Federal Regulations. Also enclosed is the
 Section 337 Mediation Program brochure. After reviewing this brochure, please sign and return
 the enclosed certification of receipt.
 Please note that the Notice requires a response to the allegations in the Complaint and the
 response must be received not later than twenty (20) days after the date of service of the
 Complaint. Failure to file a response may result in inferences being drawn against your interests.

                                                                Sincerely,



 `                                                              Lisa R. Barton
 Enclosures:                                                   Secretary
    1. Complaint
    2. Notice of Investigation
    3. Code of Federal Regulation
    4. Publication Regarding the Section 337 Mediation Program
    5. Certification of Receipt of Mediation Materials
Case 8:24-cv-00974-FWS-ADS            Document 47-1         Filed 08/30/24        Page 17 of 26 Page
                                           ID #:1020




               UNITED STATES INTERNATIONAL TRADE COMMISSION

                                     WASHINGTON, DC 20436

                                           August 16, 2024
 Grand Chip Labs, Inc.
 14151 Newport Ave., Suite 204
 Tustin, CA 92780


 Re:    Certain Wireless Front-End Modules, Devices
        Containing the Same, and Components Thereof; Inv. No.
        337-TA-1413
 Dear Sir/Madam:
 This letter is to advise you that the United States International Trade Commission has instituted
 an investigation pursuant to Section 337 of the Tariff Act of 1930 (19 U.S.C. 1337). Grand
 Chip Labs, Inc. is a named respondent in this investigation.
 We are hereby serving you with a copy of the Complaint and the Notice of Investigation issued
 in this matter. Enclosed is a copy of the Code of Federal Regulations. Also enclosed is the
 Section 337 Mediation Program brochure. After reviewing this brochure, please sign and return
 the enclosed certification of receipt.
 Please note that the Notice requires a response to the allegations in the Complaint and the
 response must be received not later than twenty (20) days after the date of service of the
 Complaint. Failure to file a response may result in inferences being drawn against your interests.
                                                                 Sincerely,




                                                                 Lisa R. Barton
 `                                                               Secretary
 Enclosures:
    1. Complaint
    2. Notice of Investigation
    3. Code of Federal Regulation
    4. Publication Regarding the Section 337 Mediation Program
    5. Certification of Receipt of Mediation Materials
Case 8:24-cv-00974-FWS-ADS            Document 47-1         Filed 08/30/24        Page 18 of 26 Page
                                           ID #:1021




               UNITED STATES INTERNATIONAL TRADE COMMISSION

                                     WASHINGTON, DC 20436

                                           August 16, 2024
 D-Link Corporation
 4F 289 Sinhu 3rd Road
 Neihu District, Taipei, 114
 Taiwan

 Re:    Certain Wireless Front-End Modules, Devices
        Containing the Same, and Components Thereof; Inv. No.
        337-TA-1413
 Dear Sir/Madam:
 This letter is to advise you that the United States International Trade Commission has instituted
 an investigation pursuant to Section 337 of the Tariff Act of 1930 (19 U.S.C. 1337). D-Link
 Corporation is a named respondent in this investigation.
 We are hereby serving you with a copy of the Complaint and the Notice of Investigation issued
 in this matter. Enclosed is a copy of the Code of Federal Regulations. Also enclosed is the
 Section 337 Mediation Program brochure. After reviewing this brochure, please sign and return
 the enclosed certification of receipt.
 Please note that the Notice requires a response to the allegations in the Complaint and the
 response must be received not later than twenty (20) days after the date of service of the
 Complaint. Failure to file a response may result in inferences being drawn against your interests.
                                                                 Sincerely,




                                                                 Lisa R. Barton
 `                                                               Secretary
 Enclosures:
    1. Complaint
    2. Notice of Investigation
    3. Code of Federal Regulation
    4. Publication Regarding the Section 337 Mediation Program
    5. Certification of Receipt of Mediation Materials
Case 8:24-cv-00974-FWS-ADS            Document 47-1         Filed 08/30/24        Page 19 of 26 Page
                                           ID #:1022




               UNITED STATES INTERNATIONAL TRADE COMMISSION

                                     WASHINGTON, DC 20436

                                           August 16, 2024
 D-Link Systems Inc.
 14420 Myford Road, Suite 100
 Irving, CA 92606


 Re:    Certain Wireless Front-End Modules, Devices
        Containing the Same, and Components Thereof; Inv. No.
        337-TA-1413
 Dear Sir/Madam:
 This letter is to advise you that the United States International Trade Commission has instituted
 an investigation pursuant to Section 337 of the Tariff Act of 1930 (19 U.S.C. 1337). D-Link
 Systems Inc. is a named respondent in this investigation.
 We are hereby serving you with a copy of the Complaint and the Notice of Investigation issued
 in this matter. Enclosed is a copy of the Code of Federal Regulations. Also enclosed is the
 Section 337 Mediation Program brochure. After reviewing this brochure, please sign and return
 the enclosed certification of receipt.
 Please note that the Notice requires a response to the allegations in the Complaint and the
 response must be received not later than twenty (20) days after the date of service of the
 Complaint. Failure to file a response may result in inferences being drawn against your interests.
                                                                 Sincerely,




                                                                 Lisa R. Barton
 `                                                               Secretary
 Enclosures:
    1. Complaint
    2. Notice of Investigation
    3. Code of Federal Regulation
    4. Publication Regarding the Section 337 Mediation Program
    5. Certification of Receipt of Mediation Materials
Case 8:24-cv-00974-FWS-ADS            Document 47-1         Filed 08/30/24        Page 20 of 26 Page
                                           ID #:1023




               UNITED STATES INTERNATIONAL TRADE COMMISSION

                                     WASHINGTON, DC 20436

                                           August 16, 2024
 Ruijie Networks Co., Ltd.
 Building 19, Juyuanzhou Industrial Park, No. 618
 Jinshan Road, Cangshan District, Fuzhou, Fujian
 China
 Re:    Certain Wireless Front-End Modules, Devices
        Containing the Same, and Components Thereof; Inv. No.
        337-TA-1413

 Dear Sir/Madam:
 This letter is to advise you that the United States International Trade Commission has instituted
 an investigation pursuant to Section 337 of the Tariff Act of 1930 (19 U.S.C. 1337). Ruijie
 Networks Co., Ltd. is a named respondent in this investigation.
 We are hereby serving you with a copy of the Complaint and the Notice of Investigation issued
 in this matter. Enclosed is a copy of the Code of Federal Regulations. Also enclosed is the
 Section 337 Mediation Program brochure. After reviewing this brochure, please sign and return
 the enclosed certification of receipt.
 Please note that the Notice requires a response to the allegations in the Complaint and the
 response must be received not later than twenty (20) days after the date of service of the
 Complaint. Failure to file a response may result in inferences being drawn against your interests.
                                                                 Sincerely,




                                                                 Lisa R. Barton
 `                                                               Secretary
 Enclosures:
    1. Complaint
    2. Notice of Investigation
    3. Code of Federal Regulation
    4. Publication Regarding the Section 337 Mediation Program
    5. Certification of Receipt of Mediation Material
Case 8:24-cv-00974-FWS-ADS             Document 47-1        Filed 08/30/24   Page 21 of 26 Page
                                            ID #:1024




                                           August 16, 2024

    Taipei Economic & Cultural Representative Office
    4201 Wisconsin Avenue, NW
    Washington, DC 20016

    Re:    Certain Wireless Front-End Modules, Devices
           Containing the Same, and Components Therof; Inv. No.
           337-TA-1413

    Dear Sir/Madam:

    This letter is to advise you that the United States International Trade Commission has
    instituted an investigation pursuant to Section 337 of the Tariff Act of 1930 (19 U.S.C.
    1337). One or more of the parties named in the investigation is located in Taiwan.

    Pursuant to Commission Rule 210.11(a) (3), we are hereby serving you with a copy of
    the Complaint filed in this investigation together with a copy of the Commission’s Notice
    of Investigation.

                                               Sincerely,



                                               Lisa R. Barton


    Enclosures:
      1. Complaint
      2. Notice of Investigation

    cc: American Institute in Taiwan, via electronic mail
Case 8:24-cv-00974-FWS-ADS            Document 47-1        Filed 08/30/24     Page 22 of 26 Page
                                           ID #:1025




               UNITED STATES INTERNATIONAL TRADE COMMISSION

                                    WASHINGTON, DC 20436

                                          August 16, 2024


 Embassy of China
 3505 International Place, NW
 Washington, DC 20008

 Re:    Certain Wireless Front-End Modules, Devices
        Containing the Same, and Components Thereof; Inv. No.
        337-TA-1413

 Dear Sir/Madam:

 This letter is to advise you that the United States International Trade Commission has instituted an
 investigation pursuant to Section 337 of the Tariff Act of 1930 (19 U.S.C. 1337). One or more of
 the parties named in the investigation is located in China.

 Pursuant to Commission Rule 210.11(a) (3), we are hereby serving you with a copy of the
 Complaint filed in this investigation together with a copy of the Commission’s Notice of
 Investigation.

                                              Sincerely,



                                              Lisa R. Barton Secretary

 Enclosures:
   1. Complaint
   2. Notice of Investigation
Case 8:24-cv-00974-FWS-ADS          Document 47-1         Filed 08/30/24     Page 23 of 26 Page
                                         ID #:1026




               UNITED STATES INTERNATIONAL TRADE COMMISSION
                                   WASHINGTON, DC 20436


                                        August 16, 2024


    Lynda Marshall
    International Section
    Antitrust Division
    U.S. Dept of Justice
    450 5th Street NW, Room 11000
    Washington, DC 20530

    Re:    Certain Wireless Front-End Modules, Devices
           Containing the Same, and Components Thereof; Inv. No.
           337-TA-1413


    Dear Lynda Marshall:

    This letter is to advise you that the United States International Trade Commission has
    instituted an investigation pursuant to Section 337 of the Tariff Act of 1930 (19 U.S.C.
    1337). A copy of the Notice of Investigation is enclosed. Non-confidential copies of the
    Complaint and any supplements filed in the investigation will be provided upon request.
    Requests should be directed to Docket Services at (202) 205-1802.

    If you have any questions concerning this investigation, please contact the Commission
    Investigative Attorney whose name and telephone number appear in the enclosed Notice.

                                            Sincerely,



                                            Lisa R. Barton
                                            Secretary
    Enclosure:
      1. Notice of Investigation
Case 8:24-cv-00974-FWS-ADS          Document 47-1         Filed 08/30/24     Page 24 of 26 Page
                                         ID #:1027




               UNITED STATES INTERNATIONAL TRADE COMMISSION
                                   WASHINGTON, DC 20436


                                        August 16, 2024


    Dax Terrill, Chief
    Exclusion Order Enforcement Branch
    U.S. Customs and Border Protection
    Regulations and Rulings
    90 K Street NE, 10th Floor
    Washington, DC 20229-1177

    Re:    Certain Wireless Front-End Modules, Devices
           Containing the Same, and Components Thereof; Inv. No.
           337-TA-1413

    Dear Dax Terrill:

    This letter is to advise you that the United States International Trade Commission has
    instituted an investigation pursuant to Section 337 of the Tariff Act of 1930 (19 U.S.C.
    1337). A copy of the Notice of Investigation is enclosed. Non-confidential copies of the
    Complaint and any supplements filed in the investigation will be provided upon request.
    Requests should be directed to Docket Services at (202) 205-1802.

    If you have any questions concerning this investigation, please contact the Commission
    Investigative Attorney whose name and telephone number appear in the enclosed Notice.

                                            Sincerely,



                                            Lisa R. Barton
                                            Secretary
    Enclosure:
      1. Notice of Investigation
Case 8:24-cv-00974-FWS-ADS          Document 47-1         Filed 08/30/24     Page 25 of 26 Page
                                         ID #:1028




               UNITED STATES INTERNATIONAL TRADE COMMISSION
                                   WASHINGTON, DC 20436


                                        August 16, 2024


    Andrew Heimert
    Office of International Affairs
    Federal Trade Commission
    600 Pennsylvania Avenue, Room 498
    Washington, DC 20580

    Re:    Certain Wireless Front-End Modules, Devices
           Containing the Same, and Components Thereof; Inv. No.
           337-TA-1413

    Dear Andrew Heimert:

    This letter is to advise you that the United States International Trade Commission has
    instituted an investigation pursuant to Section 337 of the Tariff Act of 1930 (19 U.S.C.
    1337). A copy of the Notice of Investigation is enclosed. Non-confidential copies of the
    Complaint and any supplements filed in the investigation will be provided upon request.
    Requests should be directed to Docket Services at (202) 205-1802.

    If you have any questions concerning this investigation, please contact the Commission
    Investigative Attorney whose name and telephone number appear in the enclosed Notice.

                                            Sincerely,



                                            Lisa R. Barton
                                            Secretary
    Enclosure:
      1. Notice of Investigation
Case 8:24-cv-00974-FWS-ADS          Document 47-1         Filed 08/30/24     Page 26 of 26 Page
                                         ID #:1029




               UNITED STATES INTERNATIONAL TRADE COMMISSION
                                   WASHINGTON, DC 20436


                                        August 16, 2024


    Summer E. Young, Ph.D., J.D.
    HHS Office of the General Counsel, NIH Branch
    National Institutes of Health
    31 Center Drive
    Building 31, Room 2B-50
    Bethesda, MD 20892

    Re:    Certain Wireless Front-End Modules, Devices
           Containing the Same, and Components Thereof; Inv. No.
           337-TA-1413


    Dear Summer Young:

    This letter is to advise you that the United States International Trade Commission has
    instituted an investigation pursuant to Section 337 of the Tariff Act of 1930 (19 U.S.C.
    1337). A copy of the Notice of Investigation is enclosed. Non-confidential copies of the
    Complaint and any supplements filed in the investigation will be provided upon request.
    Requests should be directed to Docket Services at (202) 205-1802.

    If you have any questions concerning this investigation, please contact the Commission
    Investigative Attorney whose name and telephone number appear in the enclosed Notice.

                                            Sincerely,



                                            Lisa R. Barton
                                            Secretary
    Enclosure:
      1. Notice of Investigation
